Case 4:18-cr-00190-MAC-CAN Document 13 Filed 10/10/18 Page 1 of 6 PageID #: 26



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION                                fOCT t o 2018
   UNITED STATES OF AMERICA                                                         Clerk, US. Oislrict Court
                                                                                         l x ),s I istern

   v.                                                     No. 4:1 SCR 1 0
                                                          Judge/"*
   STEPHEN CHASE CLARK

                                          INDICTMENT

  THE UNITED STATES GRAND URY CHARGES:

                                             Count One

                                                     Violation: 18 U.S.C. § 2422(b)
                                                     (Attempted Coercion and Enticement of
                                                     a Minor)

            Between on or about August 27, 2018, and on or about August 28, 2018, in the

  Eastern District of Texas, Stephen Chase Clark, defendant, did use any facility of

  interstate and foreign commerce, to knowingly persuade, induce, entice, and coerce, and


  to knowingly attempt to persuade, induce, entice, and coerce, any individual who had not

  attained the age of 18 years to engage in any sexual activity for which any person could

  be charged with an offense.

             In violation of 18 U.S.C. § 2422(b).

                                             Count Two

                                                     Violation: 18 U.S.C. §§ 2252A(a)(2)(A)
                                                     and (b)(1) (Receipt of Child
                                                     Pornography)

             On or about April 30, 2018, in the Eastern District of Texas, Stephen Chase

  Clark, defendant, did knowingly receive any child pornography, as defined in Title 18,
  Indictment - Page 1
Case 4:18-cr-00190-MAC-CAN Document 13 Filed 10/10/18 Page 2 of 6 PageID #: 27



  United States Code, Section 2256(8), that had been shipped and transported using any

  means and facility of interstate and foreign commerce, and that had been shipped and

  transported in and affecting interstate and foreign commerce by any means, including by

  computer. Specifically, the defendant, Stephen Chase Clark, using the Internet and a

  Samsung Galaxy S9+ cellular phone, received the following visual depictions:

                        FILE NAME                                DESCRIPTION
           ddb8760e-7c7b-45f4-abb5-3.mp4           This is the first part of a three-part video.
                                                   The video depicts an adult male who
                                                   carries a prepubescent male infant to a
                                                   bed, lays the child down, and begins to
                                                   penetrate the child s anus with his penis.

           794879db-db36-4fa 1 -8931 -a.mp4        This is the second pail of a three-part
                                                   video. This video depicts the adult male
                                                   penetrating the anus of a prepubescent
                                                     ale infant with his penis while
                                                   positioned over the child. The man then
                                                   moves behind the child and continues
                                                   penetrating his anus while holding his
                                                   legs.

          c 1726ca6-5684-4a4a-9198-0.mp4           This is the third part of a three-part video.
                                                   In the last video, the adult male ejaculates
                                                   on the prepubescent male infant, cleans
                                                   the child, then allows the child to crawl
                                                   away, exposing his anus and genitals to
                                                   the camera.




             In violation of 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1).

                                           Count Three

                                                     Violation: 18 U.S.C. §§ 2252A(a)(5)(B)
                                                     and (b)(2) (Possession of Child
                                                     Pornography)


  I dictment - Page 2
Case 4:18-cr-00190-MAC-CAN Document 13 Filed 10/10/18 Page 3 of 6 PageID #: 28



            On or about August 28, 2018, in the Eastern District of Texas, Stephen Chase

  Clark, defendant, did knowingly possess material, namely, a Samsung Galaxy S9+

  cellular phone, model number SM-G965U and bearing IMEI number 353322091333139,

  that contained images of child pornography, as defined in Title 18, United States Code,

  Section 2256(8), involving a prepubescent minor and a minor who had not attained 12

  years of age, that had been shipped and transported using any means and facility of

  interstate and foreign commerce; that had been shipped and transported in and affecting

  interstate and foreign commerce by any means, including by computer; and that had been

  produced using materials that had been mailed and shipped and transported in and

  affecting interstate and foreign commerce by any means, including by computer.

  Included among the images and videos that the defendant, Stephen Chase Clark,

  possessed we e the following:

                   FILE NAME                               DESCRIPTION
     292a766c-2bb3-4e70-af9c-3.jpg        This image file depicts a nude, prepubescent male
                                          sitting in a chair covered with a white towel. A
                                          rope is tied around the child s waist, wrists, torso,
                                          and legs, binding him to the chair and spreading
                                          his legs open to display his genitals to the camera.

      3 (91 c59f-084c-4040-9a 12-a.jpg    This image depicts a nude, prepubescent male
                                          reclining against a brown headboard on a bed.
                                          The child s legs are pulled up and apart to expose
                                          his genitals, which is the focus of the image.

     35e24bc6-618f-4034-98e6-b.jpg        This image depicts a nude, prepubescent male
                                          laying on multicolored blankets. The child’s legs
                                           are spread, exposing his genitals to the camera,
                                           which is the focus of the image.



            In violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2).
  Indictment - Page 3
Case 4:18-cr-00190-MAC-CAN Document 13 Filed 10/10/18 Page 4 of 6 PageID #: 29



               NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

            Upon conviction of the offense alleged in this In ictment, the defendant, Stephen

  Chase Clark, shall forfeit to the United States his interest in the following property,

  including, but not limited to:

            1. Samsung Galaxy S9+ cellular phone, model number SM-G965U and
                        bearing IMEI number 353322091333139.

            This property is forfeitable pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3), and 18

  U.S.C. §§ 2428(a)(1) and 2428(b)(1)(A) based upon the property being:

            (1) any property, real o personal, that was used or intended to be used to
                   commit or to facilitate the com ission of a violation of 18 U.S.C.
                        § 2422(b), 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1), and 18 U.S.C.
                        §§ 2252A(a)(5)(B) and (b)(2);
  By virtue of the commission of the offense alleged in this Indictment, any and all interest

  the defendant has in this property is vested in and forfeited to the United States pursuant

  to 18 U.S.C. §§ 2253(a)(1) and (a)(3), 18 U.S.C. §§ 2428(a)(1), 2428(b)(1)(A), and 28

  U.S.C. §2461(c).


                                                         A TRUE BILL




                                                         GRAND JURY FOREPERSON

  JOSEPH D. BROWN
  UNITED STATES ATTORNEY


                                                         Date: /@

                 United States Attorney
  Indictment - Page 4
Case 4:18-cr-00190-MAC-CAN Document 13 Filed 10/10/18 Page 5 of 6 PageID #: 30



                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

   UNITED STATES OF AMERICA §
                                                   §
   v.                               §                          No. 4:18CR
                                                   §           J dge
   STEPHEN CHASE CLARK §

                                     NOTICE OF PENALTY

                                             Count One

            Violation: 18 U.S.C. § 2422(b)

            Penalty: Imprisonment for not less than ten years and not more than
                             life; a fine of not more than $250,000; and a term of
                             supervised release of not less than five years to life.

            Special Assessment: $ 100.00

                                             Count Two

            Violation: 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(1)

            Penalty: Imprisonment for not less than five years and not more than
                             twenty years; but if the defendant has a prior conviction under
                             this chapter, section 1591, chapter 71, chapte 109A, chapte
                             117, or under section 920 of title 10 (article 120 of the
                             Uniform Code of Military Justice), or under the laws of any
                                  State relating to aggravated sexual abuse, sexual abuse, or
                                  abusive sexual conduct involving a minor or ward, or the
                                  production, possession, receipt, mailing, sale, distribution,
                                  shipment, or transportation of child pornography or sex
                                  trafficking of children, such person shall be imprisoned for
                                  not less than fifteen years and not more than forty years; a
                                  fine of not more than $250,000; and a term of supervised
                                  release of not less than five years to life.


             Special Assessment: $ 100.00




  Notice of Penalty - Page 1
Case 4:18-cr-00190-MAC-CAN Document 13 Filed 10/10/18 Page 6 of 6 PageID #: 31



                                          Cou t Three

           Violation:          18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2)

           Penalty:            Imprisonment for not more than ten years; but if any image of
                               child pornography involved in the offense involved a
                               prepubescent minor or a minor who had not attained 12 years
                               of age, such person shall be imprisoned for not more than
                               twenty years; and, if the defendant has a prior conviction
                               under this chapter, section 1591, chapter 71, chapter 109A,
                               ch pter 117, or under section 920 of title 10 (article 120 of the
                               Uniform Code of Military Justice), or under the laws of any
                               State relating to aggravated sexual abuse, sexual abuse, or
                               abusive sexual conduct involving a minor or ward, or the
                               production, possession, receipt, mailing, sale, distribution,
                               shipment, or transportation of child pornography or sex
                               trafficking of children, such person shall be imprisoned for
                               not less than ten years and not more than twenty years; a fine
                               of not more than $250,000; and a term of supervised release
                               of not less than five years to life.

            Special Assessment $ 100.00




  Notice of Penalty - Page 2
